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                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF LOUISIANA

     In re:
                                                                CASE NO. 20-10846
     THE ROMAN CATHOLIC CHURCH OF
     THE ARCHDIOCESE OF NEW ORLEANS,                            CHAPTER 11

                          Debtor.


                  UNITED STATES TRUSTEE’S OBJECTION TO THE
         FIRST INTERIM FEE APPLICATION OF ROCK CREEK ADVISORS, LLC

          NOW INTO COURT, comes David W. Asbach, Acting United States Trustee for Region

   5, by and through undersigned counsel, who objects to the “First Interim Application for

   Allowance and Payment of Compensation of Rock Creek Advisors, LLC as Pension Financial

   Advisor for the Official Committee of Unsecured Creditors for the Period of February 1, 2022 –

   February 28, 2022” [Doc. 1378] (the, “First Fee Application”). The First Fee Application seeks

   approval of $29,775.00 in fees and $0.00 in expenses. For the reasons set forth below, the United

   States Trustee objects to the allowance of the full amount of fees, as nearly half of the time entries

   detail duplicable services by the two timekeepers.

                                  STANDING AND JURISDICTION

          1.      The U.S. Trustee is an official of the United States Department of Justice appointed

   by the Attorney General to supervise the administration of bankruptcy cases in this district. 28

   U.S.C. § 581(a)(6).

          2.      Congress has expressly authorized United States Trustees to review, comment

   upon, and object to fee applications filed by bankruptcy professionals where appropriate. 28

   U.S.C. § 586(a)(3)(A); 11 U.S.C. § 307 and § 330(a)(2).

          3.      The Bankruptcy Court also has a duty to examine the First Fee Application to
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   “allow only reasonable compensation for actual, necessary services.” In re Kitchen Lady, Inc., 144

   B.R. 544, 546 (Bankr. M.D. Fla. 1992). See also In re Ridgeway, No. 16-10643, 2018 WL

   1116531 at *3 fn. 5 (Bankr. E.D. La. Feb. 27, 2018) (“[T]he court has an independent duty to

   review fee applications.”)

           4.     Applying this guidance, the U.S. Trustee submits the following comments and

   objections to the First Fee Application.

                                              BACKGROUND

           5.     The Roman Catholic Church of the Archdiocese of New Orleans (the “Debtor”)

   filed a voluntary petition for relief under Chapter 11 of the Bankruptcy Code on May 1, 2020 (the

   “Petition Date”). [Doc. 1].

           6.     On May 20, 2020, the U.S. Trustee appointed an official committee of unsecured

   creditors (the “Official Committee”) pursuant to 11 U.S.C. § 1102(a). [Doc. 94]. The U.S. Trustee

   reconstituted the Official Committee on June 10, 2020 [Doc. 151] and on October 8, 2020 [Doc.

   478].

           7.     The Official Committee filed an application to employ Rock Creek Advisors, LLC

   (hereinafter, “Rock Creek”) as its pension financial advisor. [Doc. 1221]. The Official Committee

   sought to employ Rock Creek to provide the following services, among others: (a) assisting the

   Official Committee with all issues concerning the Debtor’s pension and other post-employment

   benefit plans; (b) attending meetings relating to the same; (c) advising the Official Committee in

   connection with pension and other post-employment benefit plans in connection with mediation;

   and (d) performing pension/benefit-related analysis in connection to any Chapter 11 plan and plan

   confirmation. Id., ⁋ 7.

           8.     The Court granted the application to employ Rock Creek by “Order Authorizing
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   the Retention and Employment of Rock Creek Advisers, LLC, as Pension Financial Advisor to the

   Official Committee of Unsecured Creditors, Effective as of December 20, 2021” on January 19,

   2022. [Doc. 1249].

          9.      On March 24, 2022, Rock Creek filed its            First Fee Application seeking

   compensation and reimbursement. [Doc. 1378]. Rock Creek seeks approval of $29,775.00 in fees

   for one month of services performed in February 2022. Id.

          10.     The U.S. Trustee objects to the fees because the hours spent on certain tasks appear

   duplicative, and the benefit to the estate has not been demonstrated.

                                       LAW AND ARGUMENT

   A. Legal Standard

          i.      Statutory Framework

          11.     Bankruptcy Code section 330(a)(1) provides that:

                  After notice to the parties in interest and the Untied States Trustee and a
                  hearing, and subject to sections 326, 328, and 329, the court may award to
                  a trustee, […] an examiner, […] or a professional person employed under
                  section 327 or 11103 –

                  (A)     reasonable compensation for actual, necessary services rendered by
                  the trustee, examiner, […] professional person, or attorney, and by any
                  paraprofessional personal employed by any such person; and

                  (B) reimbursement for actual, necessary expenses.

   11 U.S.C. § 330(a)(1)(A) and (B).

          12.     Section 330(a) also gives the bankruptcy court the authority, upon motion or sua

   sponte, to “award compensation that is less than the amount of compensation that is requested.”

   Id. at § 330(a)(2); In re Babcock & Wilcox Co., No. 06-9964, 2007 WL 854304, at * (Bankr. E.D.

   La. March 15, 2007). Section 330(a)(3) provides an illustrative (but not exclusive) list of factors

   in determining reasonable compensation, including:
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                    (A) the time spent on such services;
                    (B) the rates charged for such services;

                    (C) whether the services were necessary to the administration of, or
                    beneficial at the time at which the service was rendered toward the
                    completion of, a case under this title;

                    (D) whether the services were performed within a reasonable amount of
                    time commensurate with the complexity, importance, and nature of the
                    problem, issue, or task addressed;

                    (E) with respect to a professional person, whether the person is board
                    certified or otherwise has demonstrated skill and experience in the
                    bankruptcy field; and

                    (F) whether the compensation is reasonable based on the customary
                    compensation charged by comparably skilled practitioners in cases other
                    than cases under this title.

   Id. at § 330(a)(3).

           13.      Further, bankruptcy courts “shall not allow compensation for unnecessary

   duplication of services […] or […] services that were not […] reasonably likely to benefit the

   debtor’s estate […] or [… ]necessary to the administration of the estate[.]” 11 U.S.C. § 330(a)(4).

           14.      Overall, the court has wide discretion in awarding fees. In In re U.S. Golf Corp.,

   639 F.2d 1197 (5th Cir. 1981), the court explained:

                  We have long recognized the importance of the bankruptcy judge’s
                  closeness to issues raised in an application for attorneys fees; the
                  bankruptcy judge has not only presided over the evidentiary hearing, but
                  has also had the opportunity to observe the performance of the attorney
                  throughout his employment before the bankruptcy court.
   Id. at 1201.

           15.      The applicant bears the burden of proof for its claim of compensation. Id. at 1207

   (5th Cir. 1981). The burden must not be taken lightly, “since every dollar received by the applicant

   results in one dollar less for creditors, justification for compensation is a necessity.” In re
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   Evangeline Refining Co., 890 F.2d 1312, 1326 (5th Cir. 1989) (citing In re Hotel Assoc., 15 B.R.

   487, 488 (Bankr. E.D. Pa. 1981).

          ii.     Lodestar

          16.     In the Fifth Circuit, the determination of a reasonable attorney’s fee award involves

   a two-step process. See Rutherford v. Harris County, 197 F.3d 173, 192 (5th Cir. 1999). The Court

   must first determine the “lodestar” by multiplying the reasonable number of hours expended and

   the reasonable hourly rate for each participating attorney. Hensley v. Eckerhart, 461 U.S. 424, 433

   (1983). This “lodestar” method serves as the initial estimate of a reasonable attorney’s fee. Blum

   v. Stenson, 465 U.S. 886, 888 (1984).

          17.     The second step involves the application of twelve factors the Fifth Circuit applies

   in determining what amount is warranted. Johnson v. Ga. Highway Express, Inc., 488 F.2d 714,

   717-719 (5th Cir. 1974). These factors are: (1) the time and labor required; (2) the novelty and

   difficulty of the questions presented; (3) the skill required to perform the legal service properly;

   (4) the preclusion of other employment by the attorney due to acceptance of the case; (5) the

   customary fee; (6) whether the fee is fixed or contingent; (7) time limitations imposed by the client

   or the circumstances; (8) the amount of money involved and the results obtained; (9) the

   experience, reputation, and ability of the attorneys; (10) the undesirability of the case; (11) the

   nature and length of the professional relationship with the client; and (12) awards in similar cases.

          18.     Once the lodestar is computed by multiplying the reasonable number of hours by a

   reasonable hourly rate, the Court may adjust the lodestar upward or downward depending on its

   analysis of the twelve factors espoused in Johnson. Dodge v Hunt Petroleum Corp., 174 F.Supp.2d

   505, 508 (N.D. Tex. 2001).

          19.     Considering the Johnson factors, the Court may reduce the award resulting from
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   the lodestar calculation if the documentation of hours worked is inadequate or if the calculation

   includes hours that were not “reasonably expended.” See Hensley, 461 U.S. at 433-34. However,

   to the extent that any Johnson factors are subsumed in the lodestar, they should not be

   reconsidered when determining whether an adjustment to the lodestar is required. Migis v.

   Pearle Vision, Inc., 135 F.3d 1041, 1047 (5th Cir. 1998).

          iii.    Other Considerations

          20.     A fee applicant should exercise ‘billing judgment’ and “make a good-faith effort

   to exclude from a fee request [the] hours that are excessive, redundant, or otherwise

   unnecessary.” Hensley v. Eckerhart, 461 U.S. 424, 434 (1983).

          21.     The Court is charged with an independent review of the reasonableness of an

   applicant’s billing practices. See In re Tak Commc'ns, Inc., 154 B.R. 514, 516 (Bankr. W.D. Wis.

   1993) (citing In re Bonneville Pacific Corp., 147 Bankr. 803, 805 (Bankr D. Utah 1992) (‘The

   ultimate determination that all requirements of the statute have been met rests with the Court”).

   B. Statistical Analysis of the Fee Application

          22.     Rock Creek invoiced 39.5 hours for the 13 workdays included in the First Fee

   Application, for a total cost of professional fees in the amount of $29,775.00. This amount

   averages to approximately $2,290 per day worked.

          23.     The First Fee Application includes two timekeepers:

                                           Rate                Total Hours     Total Comp
                  John L. Spencer          $900/hr             23.0            $20,700.00
                 Managing Director
                    Chris Peirce           $500/hr             16.5            $9,075.00
                     Director

                               TOTAL:                          39.5            $29,775.00


          24.     Rock Creek’s average rate for its First Fee Application is $750.00 per hour.
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   C. Objection to the First Fee Application

              i.          Duplicative Time Entries
              25.         Of the forty-four (44) time entries submitted for reimbursement, twenty (20) of the

   entries evidence Mr. Spencer and Mr. Peirce performing the same task. Specifically:

    Date           Task              Notes                                             Hours Timekeeper Rate     Amount
    2/2/22         Meetings - with   Call with Paul Shields and Shelby Chaffos         0.4   Peirce     550.00   220.00
                   Counsel           of BRG, Gillian Brown and Andrew Caine of
                                     PSZJ, and John Spencer of Rock Creek
                                     regarding pension data request list and files
                                     received
    2/2/22         Meetings - with   Call with G. Brown (of PSZ&J) P. Shields          0.4   Spencer    900.00   360.00
                   Counsel           and M. Babcock (of BRG) and C. Peirce (of
                                     Rock Creek) re: initial document request
                                     and situation overview


    2/2/22         Document          Review docket for relevant documents              3.4   Peirce     550.00   1,870.00
                   Review            related to bankruptcy and pension related
                                     issues
    2/2/22         Document          Review docket for relevant documents              2.3   Spencer    900.00   2,070.00
                   Review            related to bankruptcy and pension related
                                     issues


    2/18/22        Internal          Call with John Spencer (of Rock Creek) re:        0.9   Peirce     550.00   495.00
                   Communications    initial analysis of documents from BRG and
                                     PSZJ
    2/18/22        Internal          Call with C. Peirce (of Rock Creek) re: initial   0.9   Spencer    900.00   810.00
                   Communications    analysis of documents


    2/21/22        Internal          Call with John Spencer (of Rock Creek)            0.6   Peirce     550.00   330.00
                   Communications    regarding
                                     Willis Tower Watson retention expansion


    2/21/22        Internal          Call with C. Peirce (of Rock Creek) re: WTW       0.6   Spencer    900.00   540.00
                   Communications    work


    2/22/22        Internal          Call with John Spencer to discuss case            0.7   Peirce     550.00   385.00
                   Communications    status and initial document analysis
    2/22/22        Internal          Call with C. Peirce (of Rock Creek) to            0.7   Spencer    900.00   630.00
                   Communications    discuss case status and initial document
                                     analysis


    2/23/22        Document          Review emails regarding Committee’s               0.2   Peirce     550.00   110.00
                   Review            potential motion relating to pension
    2/23/22        Document          Review pleadings relating to Committee’s          0.6   Spencer    900.00   540.00
                   Review            potential motion involving pension issues

    2/23/22        Document          Review Transcript re: Committee potential         1.5   Peirce     550.00   825.00
                   Review            motion relating to pension
    2/23/22        Document          Review transcript of hearing relating to          2.1   Spencer    900.00   1,890.00
                   Review            pension issues


    2/24/22        Document          Review Archdiocesan documents relating to         1.2   Spencer    900.00   1,080.00
                   Review            pension finances
    2/27/22        Document          Review Archdiocesan documents relating to         1.0   Peirce     550.00   550.00
                   Review            pension obligations
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    Date       Task              Notes                                         Hours Timekeeper Rate     Amount
    2/28/22    Internal          Call with John Spencer (of Rock Creek) re:    0.6   Peirce     550.00   330.00
               Communications    ERISA, IRC and state law issues around
                                 retiree medical
    2/28/22    Internal          Call with C. Peirce (of Rock Creek) re:       0.6   Spencer    900.00   540.00
               Communications    ERISA, IRC and state law issues around
                                 retiree medical


    2/28/22    Meetings - with   Call with John Spencer (of Rock Creek), Jim   1.0   Peirce     550.00   550.00
               Counsel           Stang and Gillian Brown (of PSZJ) and
                                 Steven Bryant (of Locke Lord) regarding
                                 status of case, identification of pertinent
                                 Pension related issues, and information
                                 needed as well as debrief call with John
                                 Spencer
    2/28/22    Meetings - with   Call with J. Stang and G. Brown (of PSZ&J),   1.0   Spencer    900.00   900.00
               Counsel           S. Bryant (of LL) and Chris Peirce (of Rock
                                 Creek) re: Committee’s potential motion
                                 regarding pension issues and retiree
                                 medical (and phone debrief with C. Peirce)




              26.     Professionals, new to a case, need time to familiarize themselves with the matter.

   Here, however, Rock Creek essentially charged a $1,450 hour rate for each of the above-listed

   tasks, which constituted nearly half of the billed time entries.

              27.     The U.S. Trustee puts Rock Creek to its burden of proof to demonstrate that the

   above listed hours of professional services were necessary, compensable, beneficial, and not

   duplicative services.

              WHEREFORE, the above premises considered, the United States Trustee requests that

   this objection be deemed good and sufficient, that the fee application be reduced or deferred

   commensurate with this objection, and for all other and further relief that is appropriate.

                                                            Respectfully submitted,

                                                            DAVID W. ASBACH.
                                                            Acting United States Trustee
                                                            Region 5, Judicial Districts of
                                                            Louisiana and Mississippi

                                                            By: /s/ Amanda B. George
                                                            AMANDA B. GEORGE (31642)
                                                            Trial Attorney
                                                            400 Poydras Street, Suite 2110
                                                            New Orleans, LA 70130
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                                                       Telephone: (504) 589-4018
                                                       Direct: (504) 589-4092
                                                       Facsimile: (504) 589-4096
                                                       Amanda.B.George@usdoj.gov

                                        CERTIFICATE OF SERVICE

        This is to certify that copies of the foregoing Objection were served on April 7, 2022 via
   CM/ECF NOTICE on the following:
   Christine W. Adams on behalf of Defendant Catholic Charities Archdiocese of New Orleans
   cadams@kinneylaw.com

   A. Brooke Watford Altazan on behalf of Creditor Committee Official Committee of Unsecured Commercial
   Creditors
   baltazan@stewartrobbins.com,
   baltazan@ecf.courtdrive.com;kheard@stewartrobbins.com;kheard@ecf.courtdrive.com;gtaylor@stewartrobbins.co
   m;gtaylor@ecf.courtdrive.com

   A. Brooke Watford Altazan on behalf of Noticing Agent Lillian Jordan
   baltazan@stewartrobbins.com,
   baltazan@ecf.courtdrive.com;kheard@stewartrobbins.com;kheard@ecf.courtdrive.com;gtaylor@stewartrobbins.co
   m;gtaylor@ecf.courtdrive.com

   David Winston Ardoin on behalf of Creditor John Doe
   david@amotriallawyers.com, renee@amotriallawyers.com

   Laura F. Ashley on behalf of Debtor The Roman Catholic Church for the Archdiocese of New Orleans
   lashley@joneswalker.com, laura-ashley-4406@ecf.pacerpro.com

   John Baay, II on behalf of Interested Party International Insurance Company
   jbaay@glllaw.com

   John Baay, II on behalf of Interested Party United States Fire Insurance Company
   jbaay@glllaw.com

   Jerry A. Beatmann on behalf of Other Prof. Fidelity & Guaranty Insurance Underwriters, Inc
   jay.beatmann@dentons.com,
   dee.mcgill@dentons.com;sam.alberts@dentons.com;malka.zeefe@dentons.com;lori.odum@dentons.com

   Jerry A. Beatmann on behalf of Other Prof. United States Fidelity & Guaranty Company
   jay.beatmann@dentons.com,
   dee.mcgill@dentons.com;sam.alberts@dentons.com;malka.zeefe@dentons.com;lori.odum@dentons.com

   Alicia M. Bendana on behalf of Creditor Robert Romero
   abendana@lawla.com, rmichel@lawla.com;seaton@lawla.com

   Richard A. Bordelon on behalf of Defendant Archdiocese of New Orleans, Indemnity, Inc.
   rbordelon@denechaudlaw.com

   Richard A. Bordelon on behalf of Defendant Roman Catholic Church for the Archdiocese of New Orleans
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  rbordelon@denechaudlaw.com

  Richard A. Bordelon on behalf of Defendant Roman Catholic Church of the Archdiocese of New Orleans
  rbordelon@denechaudlaw.com

  Derek T Braslow on behalf of Creditor John Doe - Claim No. 20394
  derek@thebraslowfirm.com

  Brandon A. Brown on behalf of Creditor Committee Official Committee of Unsecured Commercial Creditors
  bbrown@stewartrobbins.com,
  bbrown@ecf.courtdrive.com;kheard@stewartrobbins.com;kheard@ecf.courtdrive.com;gtaylor@stewartrobbins.com
  ;gtaylor@ecf.courtdrive.com

  Joseph M. Bruno, Sr on behalf of Creditor JW Doe
  jbruno@brunobrunolaw.com, Don@brunobrunolaw.com

  Joseph M. Bruno, Sr on behalf of Interested Party Angela Dolce
  jbruno@brunobrunolaw.com, Don@brunobrunolaw.com

  Steven Bryant on behalf of Creditor Committee Official Committee of Unsecured Creditors
  steven.bryant@lockelord.com

  Steven Bryant on behalf of Interested Party Locke Lord LLP
  steven.bryant@lockelord.com

  Steven Bryant on behalf of Other Prof. Stegall, Benton, Melancon & Associates, LLC
  steven.bryant@lockelord.com

  Steven Bryant on behalf of Other Prof. Zobrio, Inc.
  steven.bryant@lockelord.com

  Amelia L Bueche on behalf of Creditor L. M.
  amelia.hurt@kellyhart.com

  Elwood F. Cahill, Jr. on behalf of Creditor LCMC Health Entities
  ecahill@shergarner.com

  Andrew William Caine on behalf of Creditor Committee Official Committee of Unsecured Creditors
  acaine@pszjlaw.com

  Deborah J Campbell on behalf of Other Prof. Fidelity & Guaranty Insurance Underwriters, Inc
  deborah.campbell@dentons.com

  Deborah J Campbell on behalf of Other Prof. United States Fidelity & Guaranty Company
  deborah.campbell@dentons.com

  Jamie Dodds Cangelosi on behalf of Creditor Committee Official Committee of Unsecured Commercial Creditors
  jcangelosi@stewartrobbins.com,
  jcangelosi@ecf.courtdrive.com;kheard@stewartrobbins.com;kheard@ecf.courtdrive.com;gtaylor@stewartrobbins.c
  om;gtaylor@ecf.courtdrive.com

  Linda F Cantor on behalf of Consultant Kinsella Media, LLC
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  lcantor@pszjlaw.com

  Linda F Cantor on behalf of Creditor Committee Official Committee of Unsecured Commercial Creditors
  lcantor@pszjlaw.com

  Linda F Cantor on behalf of Creditor Committee Official Committee of Unsecured Creditors
  lcantor@pszjlaw.com

  Linda F Cantor on behalf of Financial Advisor Berkeley Research Group, LLC
  lcantor@pszjlaw.com

  Linda F Cantor on behalf of Financial Advisor Rock Creek Advisors, LLC
  lcantor@pszjlaw.com

  Desiree M. Charbonnet on behalf of Defendant A.A. Doe
  dcharbonnet@desireelaw.com

  William G. Cherbonnier, Jr. on behalf of Interested Party Lauren Theobold
  wgc@billcherbonnier.com, caludagroupllc@jubileebk.net

  Everett J. Cygal on behalf of Interested Party Catholic Mutual Relief Society
  ecygal@schiffhardin.com

  John H. Denenea, Jr. on behalf of Creditor Certain Abuse Victims
  jdenenea@midcitylaw.com, wdominguez@midcitylaw.com

  John H. Denenea, Jr. on behalf of Creditor Survivor-Plaintiffs in CDC Case No. 19-11521
  jdenenea@midcitylaw.com, wdominguez@midcitylaw.com

  John H. Denenea, Jr. on behalf of Creditor Committee Official Committee of Unsecured Creditors
  jdenenea@midcitylaw.com, wdominguez@midcitylaw.com

  John H. Denenea, Jr. on behalf of Creditor Ed Roe
  jdenenea@midcitylaw.com, wdominguez@midcitylaw.com

  John H. Denenea, Jr. on behalf of Plaintiff A. A. Doe
  jdenenea@midcitylaw.com, wdominguez@midcitylaw.com

  John H. Denenea, Jr. on behalf of Plaintiff CC Doe
  jdenenea@midcitylaw.com, wdominguez@midcitylaw.com

  John H. Denenea, Jr. on behalf of Plaintiff Chuck Roe
  jdenenea@midcitylaw.com, wdominguez@midcitylaw.com

  John H. Denenea, Jr. on behalf of Plaintiff John Roe, III
  jdenenea@midcitylaw.com, wdominguez@midcitylaw.com

  John H. Denenea, Jr. on behalf of Plaintiff West Roe
  jdenenea@midcitylaw.com, wdominguez@midcitylaw.com

  John H. Denenea, Jr. on behalf of Plaintiff Zach Roe
  jdenenea@midcitylaw.com, wdominguez@midcitylaw.com
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  Eric J Derbes on behalf of Creditor Couhig Partners, LLC
  ederbes@derbeslaw.com, derbespacer@gmail.com;derbeser72443@notify.bestcase.com

  Ross J. Donnes on behalf of Creditor Talbot, Carmouche & Marcello
  rdonnes@tcmlawfirm.net

  Douglas S. Draper on behalf of Creditor Wynhoven Health Care Center
  ddraper@hellerdraper.com, vgamble@hellerdraper.com

  Douglas S. Draper on behalf of Interested Party Apostolates
  ddraper@hellerdraper.com, vgamble@hellerdraper.com

  Douglas S. Draper on behalf of Interested Party Catholic Foundation
  ddraper@hellerdraper.com, vgamble@hellerdraper.com

  Douglas S. Draper on behalf of Interested Party Saint Joseph Abbey
  ddraper@hellerdraper.com, vgamble@hellerdraper.com

  Douglas S. Draper on behalf of Interested Party Seminary College
  ddraper@hellerdraper.com, vgamble@hellerdraper.com

  John Douglas Elrod on behalf of Creditor TMI Trust Company
  elrodj@gtlaw.com

  Joseph Mark Fisher on behalf of Interested Party Catholic Mutual Relief Society
  mfisher@schiffhardin.com

  Elizabeth J. Futrell on behalf of Debtor The Roman Catholic Church for the Archdiocese of New Orleans
  efutrell@joneswalker.com, mmontiville@joneswalker.com;lisa-futrell-4186@ecf.pacerpro.com

  Amanda Burnette George on behalf of U.S. Trustee Office of the U.S. Trustee
  Amanda.B.George@usdoj.gov

  Jeremy Gettes on behalf of Interested Party Angela Freeman
  jgettes@gertlerfirm.com

  William P. Gibbens on behalf of Defendant Harold Thomas Ehlinger
  billy@semmlaw.com, terri@semmlaw.com

  Soren Erik Gisleson on behalf of Creditor Certain Abuse Victims
  sgisleson@hhkc.com, jchauvin@hhkc.com

  Soren Erik Gisleson on behalf of Creditor Survivor-Plaintiffs in CDC Case No. 19-11521
  sgisleson@hhkc.com, jchauvin@hhkc.com

  Soren Erik Gisleson on behalf of Creditor Committee Official Committee of Unsecured Creditors
  sgisleson@hhkc.com, jchauvin@hhkc.com

  Soren Erik Gisleson on behalf of Creditor Ed Roe
  sgisleson@hhkc.com, jchauvin@hhkc.com
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  Soren Erik Gisleson on behalf of Creditor JW Doe
  sgisleson@hhkc.com, jchauvin@hhkc.com

  Soren Erik Gisleson on behalf of Creditor James Doe
  sgisleson@hhkc.com, jchauvin@hhkc.com

  Soren Erik Gisleson on behalf of Plaintiff A. A. Doe
  sgisleson@hhkc.com, jchauvin@hhkc.com

  Soren Erik Gisleson on behalf of Plaintiff CC Doe
  sgisleson@hhkc.com, jchauvin@hhkc.com

  Soren Erik Gisleson on behalf of Plaintiff Chuck Roe
  sgisleson@hhkc.com, jchauvin@hhkc.com

  Soren Erik Gisleson on behalf of Plaintiff John Roe, III
  sgisleson@hhkc.com, jchauvin@hhkc.com

  Soren Erik Gisleson on behalf of Plaintiff West Roe
  sgisleson@hhkc.com, jchauvin@hhkc.com

  Soren Erik Gisleson on behalf of Plaintiff Zach Roe
  sgisleson@hhkc.com, jchauvin@hhkc.com

  Brodie Glenn on behalf of Defendant Catholic Charities Archdiocese of New Orleans
  bglenn@bradleyfirm.com

  Brodie Glenn on behalf of Defendant Roman Catholic Church of the Archdiocese of New Orleans
  bglenn@bradleyfirm.com

  Alan H. Goodman on behalf of Interested Party Breazeale, Sachse & Wilson, L.L.P.
  alan.goodman@bswllp.com, moorek@bswllp.com

  Ashley J. Heilprin on behalf of Interested Party John Asare-Dankwah
  ashley.heilprin@phelps.com

  Ashley J. Heilprin on behalf of Plaintiff John Asare-Dankwah
  ashley.heilprin@phelps.com

  Evan Park Howell, III on behalf of Creditor Paul Calamari
  ehowell@ephlaw.com, cathyt3@cox.net

  Stephen Michael Huber on behalf of Creditor L. D.
  stephen@huberthomaslaw.com

  Sara Hunkler on behalf of Interested Party First State Insurance Company
  shunkler@ruggerilaw.com

  Sara Hunkler on behalf of Interested Party Twin City Insurance Company
  shunkler@ruggerilaw.com

  Wayne J. Jablonowski on behalf of Creditor Crescent Door & Hardware, Inc.
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  wjjlaw@bellsouth.net

  Annette W Jarvis on behalf of Creditor TMI Trust Company
  jarvisa@gtlaw.com

  Lillian Jordan
  ljordan@donlinrecano.com,
  rmapa@donlinrecano.com;nefrecipients@donlinrecano.com;jestrada@donlinrecano.com;fcardona@donlinrecano.co
  m

  Benjamin Kadden on behalf of Financial Advisor Carr, Riggs & Ingram, LLC
  bkadden@lawla.com, mnguyen@lawla.com

  Allison Kingsmill on behalf of Debtor The Roman Catholic Church for the Archdiocese of New Orleans
  akingsmill@joneswalker.com

  Allison Kingsmill on behalf of Defendant Roman Catholic Church for the Archdiocese of New Orleans
  akingsmill@joneswalker.com

  Allison Kingsmill on behalf of Defendant Roman Catholic Church of the Archdiocese of New Orleans
  akingsmill@joneswalker.com

  Bradley C. Knapp on behalf of Creditor Committee Official Committee of Unsecured Creditors
  bknapp@lockelord.com, AutoDocket@LockeLord.com;Ashley.Lohr@lockelord.com

  Bradley C. Knapp on behalf of Interested Party Locke Lord LLP
  bknapp@lockelord.com, AutoDocket@LockeLord.com;Ashley.Lohr@lockelord.com

  Bradley C. Knapp on behalf of Other Prof. Zobrio, Inc.
  bknapp@lockelord.com, AutoDocket@LockeLord.com;Ashley.Lohr@lockelord.com

  Dylan K. Knoll on behalf of Defendant Archdiocese of New Orleans, Indemnity, Inc.
  dknoll@denechaudlaw.com

  Dylan K. Knoll on behalf of Defendant Roman Catholic Church for the Archdiocese of New Orleans
  dknoll@denechaudlaw.com

  Dylan K. Knoll on behalf of Defendant Roman Catholic Church of the Archdiocese of New Orleans
  dknoll@denechaudlaw.com

  Omer F. Kuebel, III on behalf of Creditor Committee Official Committee of Unsecured Creditors
  rkuebel@lockelord.com, Yamille.Harrison@lockelord.com

  Omer F. Kuebel, III on behalf of Interested Party Locke Lord LLP
  rkuebel@lockelord.com, Yamille.Harrison@lockelord.com

  Heather A. LaSalle on behalf of Creditor Capital One, National Association
  halexis@hinshawlaw.com, lgraff@mcglinchey.com

  Frank E. Lamothe, III on behalf of Creditor John Doe
  felamothe@lamothefirm.com
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  Frank E. Lamothe, III on behalf of Plaintiff John Doe
  felamothe@lamothefirm.com

  Julien Guy Lamothe on behalf of Plaintiff John Doe
  jlamothe@lamothefirm.com

  Mark C. Landry on behalf of Creditor First Bank and Trust
  mlandry@newmanmathis.com

  Darryl T. Landwehr on behalf of Creditor Merle Noullet
  dtlandwehr@att.net, dtlandwehr@gmail.com

  Mary S. Langston on behalf of U.S. Trustee Office of the U.S. Trustee
  Mary.Langston@usdoj.gov

  Joseph J Lowenthal, Jr on behalf of Defendant Archdiocese of New Orleans, Indemnity, Inc.
  jlowenthal@joneswalker.com

  Joseph J Lowenthal, Jr on behalf of Defendant Roman Catholic Church for the Archdiocese of New Orleans
  jlowenthal@joneswalker.com

  Joseph J Lowenthal, Jr on behalf of Defendant Roman Catholic Church of the Archdiocese of New Orleans
  jlowenthal@joneswalker.com

  Ryan Luminais on behalf of Creditor L. M.
  rluminais@shergarner.com

  Thomas J. Madigan on behalf of Creditor L. M.
  tmadigan@shergarner.com

  Thomas J. Madigan on behalf of Creditor LCMC Health Entities
  tmadigan@shergarner.com

  Thomas J. Madigan on behalf of Creditor Survivor-Plaintiffs in CDC Case No. 19-11521
  tmadigan@shergarner.com

  Wayne A. Maiorana, Jr. on behalf of Creditor Gulf Coast Bank and Trust Company
  tmaiorana@newmanmathis.com

  Wilson Lewis Maloz, III on behalf of Interested Party First State Insurance Company
  wmaloz@lpwsl.com

  Wilson Lewis Maloz, III on behalf of Interested Party Twin City Insurance Company
  wmaloz@lpwsl.com

  Robert A. Mathis on behalf of Creditor Gulf Coast Bank & Trust c/o RA Mathis
  rmathis@newmanmathis.com

  Robert A. Mathis on behalf of Creditor Gulf Coast Bank & Trust c/o Robert A. Mathis
  rmathis@newmanmathis.com

  Donald Andrew Mau, I on behalf of Interested Party Fr. JB
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  dmau@meliaslaw.com

  Patrick Maxcy on behalf of Other Prof. Fidelity & Guaranty Insurance Underwriters, Inc
  patrick.maxcy@dentons.com

  Patrick Maxcy on behalf of Other Prof. United States Fidelity & Guaranty Company
  patrick.maxcy@dentons.com

  Gerald Edward Meunier on behalf of Creditor Survivor-Plaintiffs in CDC Case No. 19-11521
  gmeunier@gainsben.com, dmartin@gainsben.com

  Gerald Edward Meunier on behalf of Creditor B. L.
  gmeunier@gainsben.com, dmartin@gainsben.com

  Gerald Edward Meunier on behalf of Creditor E. C.
  gmeunier@gainsben.com, dmartin@gainsben.com

  Gerald Edward Meunier on behalf of Creditor R. M.
  gmeunier@gainsben.com, dmartin@gainsben.com

  Allen C. Miller on behalf of Interested Party John Asare-Dankwah
  allen.miller@phelps.com

  Allen C. Miller on behalf of Plaintiff John Asare-Dankwah
  allen.miller@phelps.com

  Mark Mintz on behalf of Debtor The Roman Catholic Church for the Archdiocese of New Orleans
  mmintz@joneswalker.com, mark-mintz-4822@ecf.pacerpro.com

  M. Keith Moskowitz on behalf of Other Prof. Fidelity & Guaranty Insurance Underwriters, Inc
  keith.moskowitz@dentons.com

  M. Keith Moskowitz on behalf of Other Prof. United States Fidelity & Guaranty Company
  keith.moskowitz@dentons.com

  Colleen A Murphy on behalf of Creditor TMI Trust Company
  murphyc@gtlaw.com

  Samantha Oppenheim on behalf of Debtor The Roman Catholic Church for the Archdiocese of New Orleans
  soppenheim@joneswalker.com, samantha-oppenheim-7970@ecf.pacerpro.com

  Dwight C Paulsen, III on behalf of Defendant Archdiocese of New Orleans, Indemnity, Inc.
  tpaulsen@bradleyfirm.com

  Dwight C Paulsen, III on behalf of Defendant Catholic Charities Archdiocese of New Orleans
  tpaulsen@bradleyfirm.com

  Dwight C Paulsen, III on behalf of Defendant Roman Catholic Church of the Archdiocese of New Orleans
  tpaulsen@bradleyfirm.com

  Felecia Y Peavy on behalf of Creditor John Does I-V
  felepeavy@juno.com
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  Nancy Peterman on behalf of Creditor TMI Trust Company
  petermann@gtlaw.com

  William S. Robbins on behalf of Creditor Committee Official Committee of Unsecured Commercial Creditors
  wrobbins@stewartrobbins.com,
  wrobbins@ecf.courtdrive.com;kheard@stewartrobbins.com;kheard@ecf.courtdrive.com;gtaylor@stewartrobbins.co
  m;gtaylor@ecf.courtdrive.com

  Craig Robinson on behalf of Interested Party E. J.
  craig@rlolegal.com

  Craig Robinson on behalf of Interested Party R. H.
  craig@rlolegal.com

  Craig Robinson on behalf of Interested Party S. T.
  craig@rlolegal.com

  Nicholas Rockforte on behalf of Creditor K. C.
  nicholas@onmyside.com

  Keith A. Rodriguez on behalf of Interested Party E. S.
  Krodriguez@keithrodriguez.com

  Samuel M. Rosamond, III on behalf of Interested Party Employers Liability Assurance Corporation
  srosamond@twpdlaw.com, jgreen@twpdlaw.com

  Richard A Rozanski on behalf of Creditor CLECO Power, LLC
  richard@rarlaw.net

  David Rubin on behalf of Creditor Hancock Whitney Bank as Trustee for Revenue Refunding Bonds (Archdiocese
  of New Orleans Project) Series 2017
  David.Rubin@butlersnow.com

  David Rubin on behalf of Creditor TMI Trust Company
  David.Rubin@butlersnow.com

  Logan Elizabeth Schonekas on behalf of Creditor L. D.
  logan@huberthomaslaw.com

  Glenn K. Schreiber on behalf of Creditor United States of America/Dept.of Justice
  glenn.schreiber@usdoj.gov, bonnie.bodenheimer@usdoj.gov;caseview.ecf@usdoj.gov;Vanessa.brown@usdoj.gov

  Kristi Schubert on behalf of Plaintiff John Doe
  kschubert@lamothefirm.com

  Stephen P. Scullin on behalf of Creditor Hancock Whitney Bank
  scullin@carverdarden.com, baradell@carverdarden.com

  Peter James Segrist on behalf of Creditor Hancock Whitney Bank
  segrist@carverdarden.com, clary@carverdarden.com
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  Ryan M. Seidemann on behalf of Interested Party State of Louisiana, Louisiana Cemetery Board
  seidemannr@ag.louisiana.gov

  Patrick M. Shelby on behalf of Interested Party John Asare-Dankwah
  rick.shelby@phelps.com, trisha.crombie@phelps.com

  Patrick M. Shelby on behalf of Plaintiff John Asare-Dankwah
  rick.shelby@phelps.com, trisha.crombie@phelps.com

  Nicholas Smeltz on behalf of Creditor Committee Official Committee of Unsecured Commercial Creditors
  nsmeltz@stewartrobbins.com,
  nsmeltz@ecf.courtdrive.com;kheard@stewartrobbins.com;kheard@ecf.courtdrive.com;gtaylor@stewartrobbins.com
  ;gtaylor@ecf.courtdrive.com

  David M Spector, I on behalf of Interested Party Catholic Mutual Relief Society
  dspector@schiffhardin.com

  Roger Stetter on behalf of Creditor Neal Pollet
  rastetter47@yahoo.com

  Paul Douglas Stewart, Jr. on behalf of Attorney Stewart Robbins Brown & Altazan, LLC
  dstewart@stewartrobbins.com,
  dstewart@ecf.courtdrive.com;kheard@stewartrobbins.com;kheard@ecf.courtdrive.com;gtaylor@stewartrobbins.co
  m;gtaylor@ecf.courtdrive.com

  Paul Douglas Stewart, Jr. on behalf of Creditor Committee Official Committee of Unsecured Commercial Creditors
  dstewart@stewartrobbins.com,
  dstewart@ecf.courtdrive.com;kheard@stewartrobbins.com;kheard@ecf.courtdrive.com;gtaylor@stewartrobbins.co
  m;gtaylor@ecf.courtdrive.com

  Jefferson R. Tillery on behalf of Defendant Archdiocese of New Orleans, Indemnity, Inc.
  jtillery@joneswalker.com

  Jefferson R. Tillery on behalf of Defendant Roman Catholic Church for the Archdiocese of New Orleans
  jtillery@joneswalker.com

  Jefferson R. Tillery on behalf of Defendant Roman Catholic Church of the Archdiocese of New Orleans
  jtillery@joneswalker.com

  Richard Trahant on behalf of Creditor Certain Abuse Victims
  trahant@trahantlawoffice.com

  Richard Trahant on behalf of Creditor Survivor-Plaintiffs in CDC Case No. 19-11521
  trahant@trahantlawoffice.com

  Richard Trahant on behalf of Creditor Committee Official Committee of Unsecured Creditors
  trahant@trahantlawoffice.com

  Richard Trahant on behalf of Creditor Ed Roe
  trahant@trahantlawoffice.com

  Richard Trahant on behalf of Creditor James Doe
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  trahant@trahantlawoffice.com

  Richard Trahant on behalf of Plaintiff A. A. Doe
  trahant@trahantlawoffice.com

  Richard Trahant on behalf of Plaintiff CC Doe
  trahant@trahantlawoffice.com

  Richard Trahant on behalf of Plaintiff Chuck Roe
  trahant@trahantlawoffice.com

  Richard Trahant on behalf of Plaintiff John Roe, III
  trahant@trahantlawoffice.com

  Richard Trahant on behalf of Plaintiff West Roe
  trahant@trahantlawoffice.com

  Richard Trahant on behalf of Plaintiff Zach Roe
  trahant@trahantlawoffice.com

  Office of the U.S. Trustee
  USTPRegion05.NR.ECF@usdoj.gov

  R. Patrick Vance on behalf of Debtor The Roman Catholic Church for the Archdiocese of New Orleans
  pvance@joneswalker.com, nwiebelt@joneswalker.com;patrick-vance-7526@ecf.pacerpro.com

  Richard P Voorhies, III on behalf of Creditor Mary Gilardi Deemer
  Richard@voorhieslaw.com, tosha@voorhieslaw.com

  Richard P Voorhies, III on behalf of Creditor Warren Joseph Deemer
  Richard@voorhieslaw.com, tosha@voorhieslaw.com

  David F. Waguespack on behalf of Creditor Hancock Whitney Bank
  waguespack@carverdarden.com, docket@carverdarden.com;plaisance@carverdarden.com

  David E. Walle on behalf of Defendant Catholic Mutual Relief Society
  dwalle@bfrob.com, aadams@bfrob.com

  David E. Walle on behalf of Interested Party Catholic Mutual Relief Society
  dwalle@bfrob.com, aadams@bfrob.com

  John W. Waters, Jr. on behalf of Defendant Catholic Mutual Relief Society
  jwaters@bfrob.com, aadams@bfrob.com

  John W. Waters, Jr. on behalf of Interested Party Catholic Mutual Relief Society
  jwaters@bfrob.com, aadams@bfrob.com

  Regina S. Wedig on behalf of Interested Party Salesian Society Inc
  reginawedig@wediglaw.com, rswedig@hotmail.com

  Edward Dirk Wegmann on behalf of Debtor The Roman Catholic Church for the Archdiocese of New Orleans
  dwegmann@joneswalker.com
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  Edward Dirk Wegmann on behalf of Defendant Roman Catholic Church for the Archdiocese of New Orleans
  dwegmann@joneswalker.com

  Edward Dirk Wegmann on behalf of Defendant Roman Catholic Church of the Archdiocese of New Orleans
  dwegmann@joneswalker.com

  Joshua D Weinberg on behalf of Interested Party First State Insurance Company
  jweinberg@ruggerilaw.com

  Joshua D Weinberg on behalf of Interested Party Twin City Insurance Company
  jweinberg@ruggerilaw.com

  Brittany Rose Wolf-Freedman on behalf of Creditor Survivor-Plaintiffs in CDC Case No. 19-11521
  bwolf@gainsben.com, sburrell@gainsben.com

  Brittany Rose Wolf-Freedman on behalf of Creditor B. L.
  bwolf@gainsben.com, sburrell@gainsben.com

  Brittany Rose Wolf-Freedman on behalf of Creditor Committee Official Committee of Unsecured Creditors
  bwolf@gainsben.com, sburrell@gainsben.com

  Brittany Rose Wolf-Freedman on behalf of Creditor E. C.
  bwolf@gainsben.com, sburrell@gainsben.com

  Brittany Rose Wolf-Freedman on behalf of Creditor Ed Roe
  bwolf@gainsben.com, sburrell@gainsben.com

  Brittany Rose Wolf-Freedman on behalf of Creditor R. M.
  bwolf@gainsben.com, sburrell@gainsben.com

  Wayne George Zeringue, Jr on behalf of Defendant Archdiocese of New Orleans, Indemnity, Inc.
  wzeringue@joneswalker.com

  Wayne George Zeringue, Jr on behalf of Defendant Roman Catholic Church for the Archdiocese of New Orleans
  wzeringue@joneswalker.com

  Wayne George Zeringue, Jr on behalf of Defendant Roman Catholic Church of the Archdiocese of New Orleans
  wzeringue@joneswalker.com

  Michael S. Zerlin on behalf of Defendant Henry Brian Highfill
  mzerlin@netscape.net


                                                      By: /s/ Amanda B. George
                                                      AMANDA B. GEORGE (31642)
                                                      Trial Attorney
